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       Exhibit AA
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                Letters



                Author Affiliations: Department of Surgery, Johns Hopkins University School            identify individuals with high neutralizing titers. J Clin Microbiol. 2021;59(2):
                of Medicine, Baltimore, Maryland (Boyarsky, Massie, Segev, Garonzik-Wang);             e02257-20. doi:10.1128/JCM.02257-20
                Department of Medicine, Johns Hopkins University School of Medicine,                   4. Higgins V, Fabros A, Kulasingam V. Quantitative measurement of
                Baltimore, Maryland (Werbel, Avery); Department of Pathology, Johns Hopkins            anti-SARS-CoV-2 antibodies: analytical and clinical evaluation. J Clin Microbiol.
                School of Medicine, Baltimore, Maryland (Tobian).                                      Published online March 19, 2021. doi:10.1128/JCM.03149-20
                Accepted for Publication: March 8, 2021.
                                                                                                       5. Jackson LA, Anderson EJ, Rouphael NG, et al; mRNA-1273 Study Group. An
                Published Online: March 15, 2021. doi:10.1001/jama.2021.4385                           mRNA vaccine against SARS-CoV-2—preliminary report. N Engl J Med. 2020;383
                Corresponding Author: Dorry L. Segev, MD, PhD, Department of Surgery,                  (20):1920-1931. doi:10.1056/NEJMoa2022483
                Johns Hopkins University Medical Institutions, 2000 E Monument St,                     6. Walsh EE, Frenck RW Jr, Falsey AR, et al. Safety and immunogenicity of two
                Baltimore, MD 21205 (dorry@jhmi.edu).                                                  RNA-based Covid-19 vaccine candidates. N Engl J Med. 2020;383(25):2439-2450.
                Author Contributions: Drs Segev and Garonzik-Wang had full access to all of            doi:10.1056/NEJMoa2027906
                the data in the study and take responsibility for the integrity of the data and the
                accuracy of the data analysis.
                Concept and design: All authors.                                                       Excess Deaths From COVID-19 and Other Causes
                Acquisition, analysis, or interpretation of data: All authors.                         in the US, March 1, 2020, to January 2, 2021
                Drafting of the manuscript: Boyarsky, Werbel, Avery, Massie, Segev, Garonzik-Wang.
                                                                                                       A study analyzing US mortality in March-July 2020 reported
                Critical revision of the manuscript for important intellectual content: All authors.
                Statistical analysis: Boyarsky, Massie, Segev.                                         a 20% increase in excess deaths, only partly explained by
                Administrative, technical, or material support: Boyarsky, Tobian, Segev,               COVID-19. Surges in excess deaths varied in timing and dura-
                Garonzik-Wang.                                                                         tion across states and were accompanied by increased mor-
                Supervision: Massie, Segev, Garonzik-Wang.
                                                                                                       tality from non–COVID-19 causes.1 This study updates the
                Conflict of Interest Disclosures: Dr Avery reported receiving grant support
                                                                                                       analysis for the remainder of 2020.
                from Aicuris, Astellas, Chimerix, Merck, Oxford Immunotec, Qiagen, and
                Takeda/Shire. Dr Segev reported serving as a consultant to and receiving
                honoraria for speaking from Sanofi, Novartis, CSL Behring, Jazz                        Methods | The Supplement details the methods. A Poisson re-
                Pharmaceuticals, Veloxis, Mallincrodt, and Thermo Fisher Scientific. No other          gression model used mortality data from 2014-2019 to pre-
                disclosures were reported.
                                                                                                       dict US expected deaths in 2020. Observed deaths in weeks
                Funding/Support: This work was supported by the Ben-Dov family; grants
                F32DK124941 (awarded to Dr Boyarsky), K01DK101677 (to Dr Massie), and
                                                                                                       ending March 1, 2020, through January 2, 2021, were taken
                K23DK115908 (to Dr Garonzik-Wang) from the National Institute of Diabetes                                                 from provisional, unweighted
                and Digestive and Kidney Diseases; grant gSAN-201C0WW (to Dr Werbel) from                                                 death counts for the District
                the Transplantation and Immunology Research Network of the American                    Editorial page 1729                of Columbia and 49 states, ex-
                Society of Transplantation; and grant K24AI144954 (to Dr Segev) from the
                National Institute of Allergy and Infectious Diseases.                                                                    cluding North Carolina for in-
                Role of the Funder/Sponsor: The funders had no role in the design and
                                                                                                       Supplemental content               sufficient data. Data sources
                conduct of the study; collection, management, analysis, and interpretation of                                             included the National Center
                the data; preparation, review, or approval of the manuscript; and decision to          for Health Statistics2-4 and US Census Bureau.5 Data for 8 geo-
                submit the manuscript for publication.
                                                                                                       graphic regions were grouped into distinctive surge patterns.
                Disclaimer: The analyses described are the responsibility of the authors and do
                                                                                                       COVID-19 deaths included all deaths for which COVID-19 was
                not necessarily reflect the views or policies of the US Department of Health and
                Human Services. The mention of trade names, commercial products, or                    cited as an underlying or contributing cause.
                organizations does not imply endorsement by the US government.                              Temporal changes in mortality rates from non–COVID-19
                Additional Contributions: We acknowledge the following individuals for their           causes (eg, Alzheimer disease/dementia, heart disease, dia-
                assistance with this study, none of whom was compensated for his or her                betes, and 9 other grouped causes; see Supplement) were
                contributions: Oliver B. Laeyendecker, PhD, Yukari C. Manabe, MD, Christine M.
                                                                                                       examined. Data included all deaths in which non–COVID-19
                Durand, MD, Caoilfhionn M. Connolly, MD, and Julie J. Paik, MD, MHS
                (all 5 for analysis and affiliated with the Department of Medicine,                    conditions were listed as the underlying cause of death
                Johns Hopkins University School of Medicine, Baltimore, Maryland);                     (potentially including deaths for which COVID-19 was a con-
                William A. Clarke, PhD, and Patrizio P. Caturegli, MD, MPH (both for analysis          tributing cause). The Joinpoint regression program version
                and affiliated with the Department of Pathology, Johns Hopkins University
                School of Medicine, Baltimore, Maryland); Aaron M. Milstone, MD, MHS
                                                                                                       4.8.0.1 (Statistical Research and Applications Branch,
                (data collection and analysis), and Ani Voskertchian, MPH (data collection)            National Cancer Institute) was used to specify the weeks
                (both affiliated with the Department of Pediatrics, Johns Hopkins University           (joinpoints) when slopes changed (measured by the annual
                School of Medicine, Baltimore, Maryland); and Sunjae Bae, MD, PhD (analysis),
                                                                                                       percentage change [APC]) and their statistical significance
                Michael T. Ou, BS (data collection and writing/editing assistance), and Richard
                Wang, BA, Aura T. Teles, BS, Ross S. Greenberg, BA, Jake A. Ruddy, BS, Leyla R.        (2-sided test, α = .05 threshold).
                Herbst, BA, Michelle R. Krach, MS, Michael D. Irving, BA, Kayleigh M.
                Herrick-Reynolds, MD, Mackenzie A. Eagleson, MD, Andrew M. Hallett, MD,                Results | Between March 1, 2020, and January 2, 2021, the US
                and Victoria A. Bendersky, MD (11 for data collection) (all 13 affiliated with the
                                                                                                       experienced 2 801 439 deaths, 22.9% more than expected,
                Department of Surgery, Johns Hopkins University School of Medicine,
                Baltimore, Maryland).                                                                  representing 522 368 excess deaths (Table). The excess death
                1. Boyarsky BJ, Ou MT, Werbel WA, et al. Early development and durability of           rate was higher among non-Hispanic Black (208.4 deaths per
                SARS-CoV-2 antibodies among solid organ transplant recipients: a pilot study.          100 000) than non-Hispanic White or Hispanic populations
                Transplantation. Published online January 19, 2021. doi:10.1097/tp.                    (157.0 and 139.8 deaths per 100 000, respectively); these
                0000000000003637
                                                                                                       groups accounted for 16.9%, 61.1%, and 16.7% of excess
                2. Klein SL, Pekosz A, Park HS, et al. Sex, age, and hospitalization drive antibody
                                                                                                       deaths, respectively. The US experienced 4 surge patterns: in
                responses in a COVID-19 convalescent plasma donor population. J Clin Invest.
                2020;130(11):6141-6150. doi:10.1172/JCI142004                                          New England and the Northeast, excess deaths surged in the
                3. Patel EU, Bloch EM, Clarke W, et al. Comparative performance of five                spring; in the Southeast and Southwest, in the summer and
                commercially available serologic assays to detect antibodies to SARS-CoV-2 and         early winter; in the Plains, Rocky Mountains, and far West,

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                                                                                                                                                              Letters




                Table. Excess Deaths, March 1, 2020, to January 2, 2021, US and Selected States and Regions
                                                                      Observed deaths                                                                 Excess deaths
                                   Expected deaths                    (ratio of observed   Excess deaths,                 Excess deaths/   COVID-19   attributed to
                 Jurisdiction      (95% CI)a                          to expected)         No. (95% CI)                   100 000b         deathsc    COVID-19, %c
                 USd               2 279 071 (2 278 117 to            2 801 439 (1.23)     522 368 (521 413 to            164.4            378 039    72.4
                                   2 280 026)                                              523 322)
                 Alabama           43 621 (43 495 to 43 747)          54 361 (1.25)        10 740 (10 614 to 10 866)      219.0            6767       63.0
                 Alaska            3740 (3719 to 3761)                4205 (1.12)          465 (444 to 486)               63.6             167        35.9
                 Arizona           50 305 (50 166 to 50 443)          66 378 (1.32)        16 073 (15 935 to 16 212)      220.8            9523       59.2
                 Arkansas          26 652 (26 561 to 26 742)          32 300 (1.21)        5648 (5558 to 5739)            187.2            4077       72.2
                 California        223 220 (222 892 to 223 548)       273 584 (1.23)       50 364 (50 036 to 50 692)      127.5            34 350     68.2
                 Colorado          33 680 (33 573 to 33 787)          40 636 (1.21)        6956 (6849 to 7063)            120.8            5123       73.6
                 Connecticut       25 837 (25 749 to 25 925)          32 379 (1.25)        6542 (6454 to 6630)            183.5            6222       95.1
                 Delaware          7618 (7582 to 7654)                9278 (1.22)          1660 (1624 to 1696)            170.5            914        55.0
                 District of       5104 (5078 to 5130)                6370 (1.25)          1266 (1240 to 1292)            179.4            927        73.2
                 Columbia
                 Florida           175 117 (174 826 to 175 409)       206 940 (1.18)       31 823 (31 531 to 32 114)      148.2            22 013     69.2
                 Georgia           71 514 (71 341 to 71 687)          88 079 (1.23)        16 565 (16 392 to 16 738)      156.0            10 449     63.1
                 Hawaii            9735 (9692 to 9778)                10 012 (1.03)        277 (234 to 320)               19.6             281        101.4
                 Idaho             11 721 (11 671 to 11 771)          14 117 (1.20)        2396 (2346 to 2446)            134.1            1506       62.9
                 Illinois          88 632 (88 436 to 88 829)          110 524 (1.25)       21 892 (21 695 to 22 088)      172.8            16 843     76.9
                 Indiana           55 892 (55 743 to 56 040)          66 603 (1.19)        10 711 (10 563 to 10 860)      159.1            9602       89.6
                 Iowa              25 336 (25 249 to 25 424)          30 368 (1.20)        5032 (4944 to 5119)            159.5            4814       95.7
                 Kansas            22 059 (21 980 to 22 138)          26 506 (1.20)        4447 (4368 to 4526)            152.6            3527       79.3
                 Kentucky          40 166 (40 046 to 40 286)          47 241 (1.18)        7075 (6955 to 7195)            158.4            4651       65.7
                 Louisiana         38 475 (38 358 to 38 591)          48 468 (1.26)        9993 (9877 to 10 110)          215.0            7068       70.7
                 Maine             12 415 (12 363 to 12 468)          13 086 (1.05)        671 (618 to 723)               49.9             356        53.1
                 Maryland          41 068 (40 947 to 41 190)          51 296 (1.25)        10 228 (10 106 to 10 349)      169.2            6805       66.5
                 Massachusetts     48 764 (48 630 to 48 899)          58 723 (1.20)        9959 (9824 to 10 093)          144.5            10 237     102.8
                 Michigan          81 079 (80 892 to 81 265)          98 891 (1.22)        17 812 (17 626 to 17 999)      178.4            12 372     69.5
                 Minnesota         38 264 (38 147 to 38 381)          44 383 (1.16)        6119 (6002 to 6236)            108.5            5897       96.4
                 Mississippi       26 185 (26 096 to 26 275)          33 919 (1.30)        7734 (7644 to 7823)            259.9            5142       66.5
                 Missouri          53 505 (53 361 to 53 649)          64 960 (1.21)        11 455 (11 311 to 11 599)      186.6            8052       70.3
                 Montana           8642 (8602 to 8681)                10 254 (1.19)        1612 (1573 to 1652)            150.9            1231       76.3
                 Nebraska          14 075 (14 018 to 14 132)          16 867 (1.20)        2792 (2735 to 2849)            144.3            2258       80.9
                 Nevada            21 547 (21 469 to 21 626)          26 780 (1.24)        5233 (5154 to 5311)            169.9            3576       68.3
                 New Hampshire     10 212 (10 167 to 10 257)          11 491 (1.13)        1279 (1234 to 1324)            94.0             768        60.1
                 New Jersey        60 594 (60 440 to 60 749)          82 871 (1.37)        22 277 (22 122 to 22 431)      250.8            18 180     81.6
                 New Mexico        15 294 (15 233 to 15 354)          19 466 (1.27)        4172 (4112 to 4233)            199.0            2792       66.9
                 New York          126 811 (126 571 to 127 050)       175 160 (1.38)       48 349 (48 110 to 48 589)      248.5            38 596     79.8
                 North Dakota      6079 (6049 to 6109)                7590 (1.25)          1511 (1481 to 1541)            198.3            1428       94.5
                 Ohio              100 843 (100 632 to 101 054)       123 114 (1.22)       22 271 (22 060 to 22 482)      190.5            15 178     68.2
                 Oklahoma          32 559 (32 455 to 32 662)          39 410 (1.21)        6851 (6748 to 6955)            173.1            5254       76.7
                 Oregon            30 551 (30 451 to 30 650)          34 063 (1.11)        3512 (3413 to 3612)            83.3             1558       44.4
                 Pennsylvania      109 953 (109 732 to 110 173)       133 247 (1.21)       23 294 (23 074 to 23 515)      182.0            18 690     80.2
                 Rhode Island      8719 (8679 to 8759)                10 408 (1.19)        1689 (1649 to 1729)            159.4            1873       110.9
                 South Carolina    41 606 (41 483 to 41 729)          50 518 (1.21)        8912 (8789 to 9035)            173.1            5545       62.2
                 South Dakota      6882 (6849 to 6915)                8766 (1.27)          1884 (1851 to 1917)            213.0            1666       88.4
                 Tennessee         62 606 (62 446 to 62 765)          75 504 (1.21)        12 898 (12 739 to 13 058)      188.9            8027       62.2
                 Texas             168 716 (168 432 to 168 999)       218 242 (1.29)       49 526 (49 243 to 49 810)      170.8            33 828     68.3
                 Utah              15 985 (15 922 to 16 048)          18 905 (1.18)        2920 (2857 to 2983)            91.1             1618       55.4
                 Vermont           4837 (4812 to 4862)                5217 (1.08)          380 (355 to 405)               60.9             106        27.9
                 Virginia          57 788 (57 637 to 57 940)          67 478 (1.17)        9690 (9538 to 9841)            113.5            6244       64.4

                                                                                                                                                          (continued)



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                Table. Excess Deaths, March 1, 2020, to January 2, 2021, US and Selected States and Regions (continued)
                                                                                          Observed deaths                                                                                       Excess deaths
                                                        Expected deaths                   (ratio of observed   Excess deaths,                                       Excess deaths/   COVID-19   attributed to
                     Jurisdiction                       (95% CI)a                         to expected)         No. (95% CI)                                         100 000b         deathsc    COVID-19, %c
                     Washington                         47 196 (47 063 to 47 328)         53 159 (1.13)        5963 (5831 to 6096)                                  78.3             3662       61.4
                     West Virginia                      18 970 (18 899 to 19 041)         21 332 (1.12)        2362 (2291 to 2433)                                  131.8            1535       65.0
                     Wisconsin                          45 013 (44 884 to 45 143)         53 256 (1.18)        8243 (8113 to 8372)                                  141.6            6325       76.7
                     Wyoming                            3890 (3869 to 3912)               4734 (1.22)          844 (822 to 865)                                     145.8            416        49.3
                a
                         Seasonally adjusted death counts predicted by regression model (see                         COVID-19 deaths in Hawaii, Massachusetts, and Rhode Island exceeded the
                         Methods).                                                                                   estimate for excess deaths, in part because observed deaths from other
                b
                         Values shown are not annual mortality rates. The numerator counts only                      causes were lower than would be predicted according to historic norms.
                                                                                                                 d
                         excess deaths that occurred between March 1, 2020, and January 2, 2021.                     The US total was calculated as the sum of results for 49 states and the District
                c
                        COVID-19 deaths include deaths in which COVID-19 was identified as the                       of Columbia. North Carolina was omitted because of delays in reporting.
                        underlying or a contributing cause of death (among multiple causes of death).



                Figure. Excess Deaths by Regions, March 1, 2020, to January 2, 2021

                      A New England and Northeast                                                                         B               Southeast and Southwest
                                                                                                          NY                                                                                               TX
                                      18 000                                                              PA                              10 000                                                           FL
                                      16 000                                                              NJ                               9000                                                            GA
                                                                                                          MD                               8000                                                            AZ
                                      14 000
                                                                                                          MA
                 Excess deaths, No.




                                                                                                                     Excess deaths, No.
                                                                                                                                           7000                                                            TN
                                      12 000
                                                                                                          CT                                                                                               AL
                                                                                                                                           6000
                                      10 000                                                              RI
                                                                                                                                           5000                                                            LA
                                       8000                                                               DE                                                                                               VA
                                                                                                                                           4000
                                       6000                                                               DC                                                                                               SC
                                                                                                                                           3000
                                                                                                          NH                                                                                               MS
                                       4000                                                                                                2000
                                                                                                          ME                                                                                               KY
                                       2000                                                                                                1000
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                                                                                                                                                                                                           NM
                                                                                                                                                                                                           WV
                                                            Epidemiologic weeks, 2020                                                                          Epidemiologic weeks, 2020


                      C               Plains, Rocky Mountain, and far West                                                D Great Lakes
                                                                                                          CA                                                                                               OH
                                       8000                                                               MO                               6000                                                            IL
                                                                                                          CO                                                                                               MI
                                       7000                                                               MN                               5000                                                            IN
                                                                                                          WA
                                       6000                                                                                                                                                                WI
                 Excess deaths, No.




                                                                                                                     Excess deaths, No.




                                                                                                          NV
                                                                                                                                           4000
                                       5000                                                               IA
                                                                                                          KS
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                                                                                                          WY
                                                                                                          AK
                                                                                                          HI
                                                            Epidemiologic weeks, 2020                                                                          Epidemiologic weeks, 2020


                State data plotted from 8 regions, as defined by the US Bureau of Economic                       except a bimodal pattern in the Great Lakes region was distinctive and plotted
                Analysis. Surge patterns were independently examined for each of the 8 regions                   separately. Negative excess deaths were plotted as zero. State-level data are
                (Supplement); epidemic patterns were similar and could be merged as shown,                       available on request.


                primarily in early winter; and in the Great Lakes, bimodally,                                         Joinpoint analyses revealed an increase in weekly mor-
                in the spring and early winter (Figure). Excess deaths were in-                                  tality from non–COVID-19 causes, including heart disease
                creasing in all regions at the end of 2020. The 10 states with                                   from March 15 to April 11, 2020 (APC, 4.9 [95% CI, 0.7-9.3]),
                the highest per capita rate of excess deaths were Mississippi,                                   and from October 11, 2020, to January 2, 2021 (APC, 1.1 [95%
                New Jersey, New York, Arizona, Alabama, Louisiana, South                                         CI, 0.8-1.4]); Alzheimer disease/dementia from March 15 to
                Dakota, New Mexico, North Dakota, and Ohio. New York ex-                                         April 11, 2020 (APC, 7.1 [95% CI, 2.4-12.0]), from May 31
                perienced the largest relative increase in all-cause mortality                                   to August 15, 2020 (APC, 1.2 [95% CI, 0.7-1.6]), and from
                (38.1%). Deaths attributed to COVID-19 accounted for 72.4%                                       September 6, 2020, to January 2, 2021 (APC, 1.3 [95% CI, 1.1-
                of US excess deaths.                                                                             1.5]); and diabetes from March 8 to April 11, 2020 (APC, 6.5

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                [95% CI, 2.8-10.3]), from May 31 to July 11, 2020 (APC, 2.6                            1. Woolf SH, Chapman DA, Sabo RT, et al. Excess deaths from COVID-19 and
                [95% CI, 0.2-5.0]), and from October 18, 2020, to January 2,                           other causes, March-July 2020. JAMA. 2020;324(15):1562-1564.

                2021 (APC, 2.2 [95% CI, 1.6-2.8]).                                                     2. Weekly counts of deaths by state and select causes, 2014-2019. Centers for
                                                                                                       Disease Control and Prevention. Accessed January 22, 2021. https://data.cdc.
                                                                                                       gov/NCHS/Weekly-Counts-of-Deaths-by-State-and-Select-Causes/3yf8-kanr
                Discussion | The 22.9% increase in all-cause mortality reported
                                                                                                       3. Weekly counts of deaths by state and select causes, 2020-2021. Centers for
                here far exceeds annual increases observed in recent years                             Disease Control and Prevention. Accessed March 10, 2021. https://data.cdc.gov/
                (≤2.5%). The percentage of excess deaths among non-                                    NCHS/Weekly-Counts-of-Deaths-by-State-and-Select-Causes/muzy-jte6
                Hispanic Black individuals (16.9%) exceeded their share of the                         4. Weekly counts of deaths by jurisdiction and race and Hispanic origin. Centers
                US population (12.5%),5 reflecting racial disparities in COVID-19                      for Disease Control and Prevention. Accessed March 10, 2021. https://data.cdc.
                                                                                                       gov/NCHS/Weekly-counts-of-deaths-by-jurisdiction-and-race-a/qfhf-uhaa
                mortality. Excess deaths surged in the east in April, followed
                                                                                                       5. Single-race population estimates 2010-2019. CDC WONDER. Accessed
                by extended summer and early winter surges concentrated in
                                                                                                       February 17, 2021. http://wonder.cdc.gov/single-race-single-year-v2019.html
                southern and western states, respectively. Many of these states
                                                                                                       6. Chaney S, Mackrael K. With fewer Covid-19 restrictions, South’s economy
                weakly embraced, or discouraged, pandemic control mea-                                 outperforms nation. Wall Street Journal. Published October 17, 2020. Accessed
                sures and lifted restrictions earlier than other states.1,6                            March 10, 2021. https://www.wsj.com/articles/with-fewer-covid-restrictions-
                     Excess deaths not attributed to COVID-19 could reflect                            souths-economy-outperforms-nation-11602927000

                either immediate or delayed mortality from undocumented
                COVID-19 infection, or non–COVID-19 deaths secondary to the                            Trends in the Prevalence of Concussion Reported
                pandemic, such as from delayed care or behavioral health cri-                          by US Adolescents, 2016-2020
                ses. Death rates from several non–COVID-19 diseases (eg, heart                         In 2016, 19.5% of US adolescents reported at least 1 concus-
                disease, Alzheimer disease) increased during surges. The model                         sion during their lifetime.1,2 While knowledge about concus-
                does not adjust directly for population aging, which could con-                        sion and management of these injuries within the adoles-
                tribute to an overestimate of excess deaths. Other study limi-                         cent population have increased over the past decade,3 to our
                tations include reliance on provisional data, inaccurate death                         knowledge, no national study has tracked whether rates
                certificates, and modeling assumptions.                                                of concussion have declined or increased. This study esti-
                                                                                                       mated trends in the lifetime prevalence of self-reported con-
                Steven H. Woolf, MD, MPH                                                               cussion among a national sample of adolescents between
                Derek A. Chapman, PhD                                                                  2016 and 2020.
                Roy T. Sabo, PhD
                Emily B. Zimmerman, PhD, MS, MPH                                                       Methods | This study uses national cross-sectional data from
                                                                                                       the 2016-2020 Monitoring the Future (MTF) initiative.4 The
                Author Affiliations: Center on Society and Health, Virginia Commonwealth               MTF initiative is an annual school-based survey of 8th-,
                University School of Medicine, Richmond (Woolf, Chapman, Zimmerman);
                                                                                                       10th-, and 12th-graders conducted between February and
                Department of Biostatistics, Virginia Commonwealth University School of
                Medicine, Richmond (Sabo).                                                             June each school year; surveys are administered in class-
                Corresponding Author: Steven H. Woolf, MD, MPH, Center on Society and                  rooms and completed during normal class periods. The MTF
                Health, Virginia Commonwealth University School of Medicine, 830 E Main St,            stopped data collection for the 2020 survey early on March
                Ste 5035, Richmond, VA 23298-0212 (steven.woolf@vcuhealth.org).                        14, 2020, due to COVID-19 (a representative sample was still
                Accepted for Publication: March 19, 2021.                                              maintained). The student response rates between 2016 and
                Published Online: April 2, 2021. doi:10.1001/jama.2021.5199                            2020 ranged from 79% to 90%. The University of Michigan
                Author Contributions: Drs Woolf and Chapman had full access to all of the data         institutional review board approved this study. A waiver of
                in the study and take responsibility for the integrity of the data and the accuracy    informed consent was sent to parents providing them a
                of the data analysis.
                Concept and design: Woolf, Sabo.                                                       means to decline their child’s participation.
                Acquisition, analysis, or interpretation of data: All authors.                              A measure to assess concussion was added to the MTF in
                Drafting of the manuscript: Woolf, Chapman, Sabo.                                      2016, asking respondents the following: “Have you ever had
                Critical revision of the manuscript for important intellectual content: All authors.
                                                                                                       a head injury that was diagnosed as a concussion?” Response
                Statistical analysis: All authors.
                Administrative, technical, or material support: Woolf, Chapman.                        options included “no,” “yes, once,” and “yes, more than once.”
                Supervision: Woolf.                                                                    The measure did not change across the 5 years.
                Conflict of Interest Disclosures: None reported.                                            Binary regression models (using Mplus 8.1) estimated lin-
                Funding/Support: The authors received partial funding from grant                       ear trends for self-reported concussion; adjusted models con-
                UL1TR002649 from the National Center for Advancing Translational Sciences,             trolled for sex, race/ethnicity, grade level, parental educa-
                National Institutes of Health (NIH). Drs Woolf and Chapman also received partial
                                                                                                       tion, and participation in sports. Analyses report the unadjusted
                funding from grant R01AG055481 from the National Institute on Aging, NIH.
                                                                                                       prevalence ratios, adjusted prevalence ratios, and 95% CIs. Sta-
                Role of the Funder/Sponsor: The NIH had no role in the design and conduct of
                the study; collection, management, analysis, and interpretation of the data;           tistical significance was set at α ≤ .05 for a 2-tailed test when
                preparation, review, or approval of the manuscript; and decision to submit the         assessing linear trends. Full information maximum likeli-
                manuscript for publication.                                                            hood estimation was used to account for item missingness for
                Additional Contributions: We thank Cassandra Ellison, MFA, art director for            each of the binary regression models. All analyses take into ac-
                the Virginia Commonwealth University Center on Society and Health, for
                                                                                                       count the complex multistage sampling design, including clus-
                assistance with graphic design, and Daniel M. Weinberger, PhD, Department of
                Epidemiology of Microbial Diseases, Yale School of Public Health, for advice on        tering of respondents in primary sampling units4; weights were
                modeling in previous studies. Neither was compensated for their contributions.         incorporated to provide nationally representative estimates

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